                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 CHARLES TALBERT                                       CIVIL ACTION

                        v.                             NO. 18-1620

 BLANCHE CARNEY, et al.


                                         MEMORANDUM

KEARNEY,J.                                                                            October 10, 2019

        Charles Talbert spent much of the last seven years in state prisons awaiting trials on a

variety of criminal charges under Pennsylvania law. Like other prisoners, he complained about

the conditions of confinement and challenged his medical care in prison. Unlike most prisoners,

he pro se sued many of those who supervised his detention and he also sued the Secretary of the

Department of Corrections and wardens not directly involved in his grievances. As we detailed

in an April 5, 2019 Memorandum in No. 19-1340, he filed at least fifty-four lawsuits as a prose

civil rights litigant since 2012 challenging state actors without paying the filing fees based on his

alleged pauper status.' Under the Prison Litigation Reform Act, Congress precludes a prisoner

from bringing claims in forma pauperis if a court dismissed his claims as lacking merit under the

Prison Litigation Reform Act at least three times. 2 By April 5, 2019, we dismissed at least four of

his recent cases as frivolous, malicious, or for failing to state a plausible claim for relief. Consistent

with Congress' mandate, we held Mr. Talbert may only proceed with new claims without paying

filing fees when he shows the defendant places him in impending danger.

        Knowing Congress precludes him from filing new cases without paying fees after our April

5, 2019 Order in No. 19-1340, Mr. Talbert then tried an end run: add claims and defendants to
cases against other correctional officers with no relation to the pending case. We reject this end

run.

        Mr. Talbert may timely sue correctional officers and others he believes deprive him of civil

rights while incarcerated. But Congress requires he pay the fees or show imminent harm from the

named defendant to avoid paying fees. We today deny his motion to amend to add new claims to

this case against state actors with no temporal or substantive connection to the underlying case.

We also strike allegations against Officer Shaniqua Ford unrelated to the claims in the original

case against Commissioner Carney and Wardens May and Clark which resulted in a jury verdict

against Mr. Talbert last month.

I.      Background

       Mr. Talbert began another term of pretrial detention at Curran-Fromhold Correctional

Facility in late October 2017. 3 Blanche Camey served as Philadelphia Department of Prisons

Commissioner and Gerald May served as Curran-Fromhold Correctional Facility Warden. 4 Mr.

Talbert alleged Commissioner Carney and Warden May quickly reviewed and approved a transfer

request transferring Mr. Talbert from Curran-Fromhold to the Detention Center. 5 They did so, Mr.

Talbert claimed, "without notice, hearing, or chance to object." 6 Terrance Clark served as

Detention Center's Warden during Mr. Talbert's period of incarceration. 7

       Upon arrival at the Detention Center, Mr. Talbert alleged Commissioner Carney and

Warden Clark "reviewed and approved [Mr. Talbert] being left in administrative segregation

indefinitely :" 8 While housed in administrative segregation, Mr. Talbert claims he experienced:

"(A) lack of shower, sleep, eating, and recreational time due to the plague of mice and roach

infestation on the entire administrative housing unit[;] (B) damaged commissary from mice

chewing through its packages, costing hundreds of dollars in financial loss[;] (C) lack of out-of-



                                                2
cell, and outdoor exercise, that caused poor health conditions such as high cholesterol, and

aggravation to [Mr. Talbert's] preexisting chronic lower back pain and spasms[;] (D) deprived

equal access to Islamic literature, and Emam, that Christians had to Chaplains and Bibles[; and]

(E) post-traumatic stress, mental anguish, intentional infliction of emotional distress, and forced

to be on suicide watch." 9 Mr. Talbert complained these conditions persisted from his transfer to

the Detention Center sometime after his arrest on October 31, 2017 until his release from pretrial

detention on March 2, 2018. 10

        At its core, Mr. Talbert complained Commissioner Camey and Wardens May and Clark

retaliated against Mr. Talbert because he filed numerous lawsuits against each of them, and they

violated Mr. Talbert's procedural due process rights by placing him in administrative segregation

without notice or an opportunity for him to object.

       We proceeded through discovery and prepared to try Mr. Talbert's case beginning in early

September 2019. 11

 Having dismissed at least three of his cases filed with leave to proceed in forma pauperis, we
     barred Mr. Talbert from filing new cases without either paying the required fees or
                demonstrating imminent harm from the named defendant.

       Mr. Talbert filed at least fifty-four cases against state actors in this Court since 2012. This

Court granted him leave to proceed in forma pauperis in these cases, including this case against

Commissioner Camey and Wardens May and Clark. Upon review of a motion to proceed in forma

pauperis in No. 19-1340, we entered detailed findings in a Memorandum supporting our denial of

his motion for leave on April 5, 2019. We then held he could only proceed with new claims as a

prisoner if he paid the filing fee or demonstrated imminent harm presented by the named defendant.




                                                 3
  Mr. Talbert amended to add claims against Officer Ford and Lieutenant Muhollan arising
                  from alleged conduct in January and February 2019.

        About a: month after we barred him from filing new lawsuits without paying fees or

showing imminent harm, Mr. Talbert moved to amend this case to add new claims against new

state actors challenging conduct occurring almost a year after the conduct at issue here. 12 Mindful

of the liberal amendments under Rule 15, we allowed Mr. Talbert to amend his complaint and add

claims against Officer Ford and Lieutenant Muhollan subject to our review on the merits. His

amended allegations related to conduct allegedly beginning in January 2019 when "Defendant

Muhollan, established, and maintained, a campaign of harassment in retaliation of [Mr. Talbert's]

filing a slew of lawsuits against the [Philadelphia Department of Prisons]." 13 Mr. Talbert alleged

Lieutenant Muhollan "called [Mr. Talbert] a jailhouse snitch," "threatened [Mr. Talbert] with

serious bodily injury," "called [Mr. Talbert] a 'nigger,"' and "made false statements against [Mr.

Talbert] in a prison misconduct, in which on Feb. 6, 2019, that misconduct, was declined by Cpt.

Harmer, finding [Mr. Talbert], 'not guilty."' 14 Mr. Talbert alleged this conduct occurred between

January 10, 2019 and February 18, 2019. 15

        Mr. Talbert made similar claims against Officer Ford.            He alleged Officer Ford

"established, and maintained a campaign of harassment and oppression, in retaliation of [Mr.

Talbert] filing a lawsuit upon [Philadelphia Department of Prisons Commissioner] Camey. "16 Mr.

Talbert alleged Officer Ford between February 20 and 27, 2019 told other inmates Mr. Talbert

"was a jailhouse snitch, and needed stitches." 17 When another inmate, Zhyare Knox, reentered

general population from disciplinary detention, Mr. Talbert claims Mr. Knox told him Officer Ford

called him a snitch and "wanted [Mr. Talbert] assaulted." 18 Mr. Knox subsequently assaulted Mr.

Talbert, and prison staff transferred Mr. Talbert to Torresdale Hospital for evaluation of a closed-

head injury. 19 Mr. Talbert believed "[Officer] Ford caused [Mr. Talbert] to be assaulted by [Mr.]


                                                 4
Knox, in retaliation of [Mr. Talbert] filing lawsuits against [Commissioner] Carney and other
                                                                                 I
                                                                                 I

                                                         20
[Philadelphia Department of Prisons] staff members.           The entirety of Officer Ford's alleged
                                                                                 I



conduct occurred between February 20, 2019 and February 27, 2019.

                 We dismissed Mr. Talbert's claims against Lieutenant Muhollan
             as violative of the three strikes rule in the Prison Litigation Reform Act.

        Mr. Talbert effected service of his amended Complaint upon Lieutenant Muhollan who

promptly moved to strike the allegations against him as violating the three strikes rule in the Prison

Litigation Reform Act under our April 5, 2019 Order in No. 19-1340. He did not serve Officer

Shaniqua Ford with the amended Complaint until mid-September.

        We granted Lieutenant Muhollan' s request to strike Mr. Talbert's allegations against him. 21

Because we dismissed Mr. Talbert at least three times and his claims against Lieutenant Muhollan

did not constitute imminent danger, we lacked a basis to allow Mr. Talbert to proceed in forma

pauperis with these new claims under our April 5, 2019 Order. 22 Further, Mr. Talbert complained

of Lieutenant Muhollan's conduct between January 2019 and February 2019, but he filed his

original lawsuit against Commissioner Camey and Wardens May and Clark in April 2018

complaining of conduct occurring between November 2017 and February 2018. 23 These new

claims attempted to end run our April 5, 2019 Order in No. 19-1340 requiring Mr. Talbert pay the

fees or demonstrate imminent harm ifhe wished to proceed. 24 Ifwe sustained Mr. Talbert's claims

against Lieutenant Muhollan it would "undermine[] our earlier dismissal of the same claims under

the Prison Litigation Reform Act. " 25

         The jury finds in favor of Commissioner Carney and Wardens May and Clark

       Mr. Talbert tried hjs case to jury verdict on September 5, 2019. 26 The jury unanimously

found in favor of Conunissioner Carney and Wardens May and Clark and against Mr. Talbert with

respect to his claims concerning his pretrial detention from October 2017 through March 2018. 27


                                                 5
        Mr. Talbert then moved for a new trial and renewed his motion for a judgment as a matter

of law. 28 We today deny his post-trial Motions.

                   Mr. Talbert served Officer Ford after our September trial

        Before Mr. Talbert's September 2019 trial against Commissioner Carney and Wardens

May and Clark, we stayed his as-yet unserved claims against Officer Ford "to be resolved after

service upon [her], evaluations of her defenses and in accord with a scheduling Order setting

deadlines and trial addressing those claims."29

        The United States Marshal returned Mr. Talbert's original Summons for the amended

Complaint to Officer Ford as unexecuted because she "could not be located without additional

identifying information." 30 We ordered Mr. Talbert to show cause as to why we should not dismiss

Officer Ford for his failure to prosecute. 31 He complied with our Order and stated he filed another

"285 form" with the United States Marshal with Officer Ford's correct name and identifying

information. 32 We then ordered the Clerk of Court to amend the docket with Officer Ford's correct

name and identifying information and issue summons to Officer Ford, and for the United States

Marshal to reattempt service of summons and Mr. Talbert's amended complaint on Officer Ford. 33

       The United States Marshal successfully served Officer Ford with the amended Complaint

on September 12, 2019 following the jury verdict in this case. 34 Officer Ford now moves to strike

allegations against her in the amended Complaint as violative of the Prison Litigation Reform Act

under our April 5, 2019 Order.

  Mr. Talbert moves to add claims in this case against Commissioner Carney, Wardens May,
   Clark and Delaney, Lieutenant Murray, and Officer Ford challenging the 2017 conduct
          adjudicated by the jury and a February 2019 assault by another inmate.

       Mr. Talbert now requests we allow him to amend his amended Complaint "to conform to

the evidence before and after the judgment was entered .... " 35 He identifies five reasons why we



                                                  6
should permit his amendments: "(1) leave shall be freely given [under Federal Rule of Civil

Procedure 15] when justice so requires[;] (2) newly discovered evidence and acts of Defendants

were established before, during, and after the filing of the original pleadings[;] (3) fraud, perjury,

and misrepresentation have been recognized before the Court[;] (4) the names of new Defendants

are made part of newly discovered evidence which caused [Mr. Talbert's] rights to be violated[;

and] (5) amendment is appropriate in order for [Mr. Talbert] to adequately mf-1<.e a pleading to

conform with all evidence made subject of the original pleadings." 36

        He wishes to supplement claims against Commissioner Camey and Warden May and Clark

related to his administrative segregation tried to the jury in early September.        Mr. Talbert's

proposed amendments with respect to Commissioner Camey and Wardens May and Clark are

indistinguishable from Mr. Talbert's amended Complaint. He again complains of his transfer from

Curran-Fromhold to the Detention Center in 2017 and his placement in administrative segregation

for an indeterminate period of time. 37 He alleges Commissioner Camey and Wardens May and

Clark did so as "a punishment for an exercise of [Mr. Talbert's] right to seek redress." 38

        Mr. Talbert then asse1is Commissioner Camey and Wardens May and Clark "committed

fraud and misrepresented facts to the Court and to the jury in regard to their knowledge of [Mr.

Talbert's] settled lawsuits filed against them." 39 Mr. Talbert now attempts to again amend his

complaint to include claims concerning Commissioner Carney and Warde11s May and Clark's

conduct at trial.

        Mr. Talbert also attempts to bring new, unrelated claims against current Curran-Fromhold

Warden Delaney and Curran-Fromhold Lieutenant Murray for conduct in February 2019 and

March 2019. 40 Mr. Talbert alleges when he began a new period of pretrial detention in late

February 2019, Lieutenant Murray served as his 'general population unit Lieutenant. 41 He spoke



                                                 7
to Lieutenant Murray "[o]n numerous occasions between February 20th, and February 27th, 2019

... concerning [Officer] Fords [sic] interminable disrespect towards [Mr. Talbert] .... " 42

        Mr. Talbert alleges Commissioner Camey forwarded a "routing slip" for one of Mr.

Talbert's grievance forms to Warden Delaney on March 22, 2019. 43 Three days later, Lieutenant

Murray "knowingly, intentionally, and maliciously attempted to cover up" evidence related to Mr.

Knox's assaulting Mr. Talbert. 44        Warden Delaney and Feutenant Murray then forwarded

evidence of his assault to the Philadelphia Police Department which "place[d] [Mr. Talbert] at

serious risk of danger by other inmates by being labeled a snitch."45

        Mr. Talbert's new complaints against Warden Delaney and Lieutenant Murray relate to

conduct occurring between February and March 2019.                 They do not relate to Mr. Talbert's

underlying claims concerning his placement in administrative segregation resolved by the jury.

        Mr. Talbert proposes no substantive amendments to his claims in his amended Complaint

against Officer Ford. His claims relate to conduct between February and March 2019 and do not

implicate his underlying complaints about his administrative segregation in 2017 and early 2018

resolved by the jury. 46

II.     Analysis

        On April 5, 2019, we dismissed several of Mr. Talbert's prose complaints for failing to

state a claim on April 5, 2019 in No. 19-1340. 47       ok   Court of Appeals instructs "[i]t is important

to note that [section] 1915 (g) does not block a pri so1er's access to the federal courts. It on! y denies

the prisoner the privilege of filing before he has acquired the necessary filing fee." 48 There is an

exception to the three-strikes rule where a prisoner can demonstrate an imminent harm.

'"Imminent' dangers are those dangers which ~re about to occur at· any moment or are

impending." 49 Since we dismissed Mr. Talbert for failing to state a claim at least three times and



                                                    8
he fails to plead imminent danger caused by Officer Ford, we lack a basis to aJlow him to proceed

informa pauperis in this case without paying fees to seek recovery from Officer Ford or the new

defendants.

        The wrinkle in this case anses from Mr. Talbert filing the original case against

Commissioner Camey and Wardens May and Clark before our April 5, 2019 Order in No. 19-1340

banning him from filing future claims unless he either pays the fees or shows imminent harm under

section 1915(g). He now sues Officer Ford challenging her conduct in February 2019, although

the original complaint relates to conduct by Commissioner Camey and Wardens May and Clark

from November 2017 until February 2018. He also seeks to amend to again sue Commissioner

Camey and Wardens May and Clark for their conduct in November 2017 through February 2018.

The jury already rejected these claims. But he also wants to amend to sue Commissioner Camey

and Wardens May and Clark for misrepresenting facts during the trial leading to a jury verdict

against him. He disagrees with their testimony and wants to "impeach" them. The jury did not

find in his favor. He also wants to amend this suit to add claims against Commissioner Carney,

Warden Delaney, Lieutenant Murray and Officer Ford for covering-up or allowing another inmate

to assault him in February 2019.

       Mr. Talbert may have claims involving the February 2019 conduct. Even ifhe cannot state

a civil rights claim, he seeks to allege fraud claims which he may pursue in state court. The question

is not whether he can recover on these claims. The issue is whether he can add claims and

defendants to this case where we granted him leave to proceed in forma pauperis regardless of

when the claims arose or who allegedly caused him harm. After careful parsing of Mr. Talbert's

varied theories, we will not allow Mr. Talbert to end run our earlier dismissal of claims under the

Prison Litigation Reform Act and the three-strikes rule. He may pursue these claims after paying



                                                  9
the fees required of all litigants. We grant Officer Ford's motion to strike allegations against her

in this case. We deny Mr. Talbert leave to amend to replead the same claims against Commissioner

Camey and Wardens May and Clark rejected by the jury with prejudice. Claims relating to his

administrative segregation in 2017 and 2018 are finally adjudicated. Mr. Talbert may not assert

new claims relating to conduct by Commissioner Camey, Warden Delaney or Lieutenant Murray

relating to an alleged February 2019 assault by another inmate in this case.

        A.      Mr. Talbert cannot proceed in this case against Commissioner Carney,
                Warden Delaney, Lieutenant Murray and Officer Ford relating to February
                2019 conduct.

        Rather than paying fees for a new case as Congress requires under section 1915, Mr.

Talbert seeks to amend this case to add claims and defendants relating to an alleged assault by

inmate Knox in February 2019 upon him. We deny his motion to amend to add these claims and

defendants as an end run of Congress' mandate.

        In Brown v. Blaine, Mr. Brown began suit in October 2001 against prison officials and

officers for violating his constitutional rights during three strip searches. 50 The three strip searches

occurred on: October 21, 1999; March 21, 2001; and April 6, 2001. Judge Lancaster dismissed

the complaint for failing to state a claim. On remand, after our Court of Appeals affirmed the

dismissal, Judge Lancaster allowed Mr. Brown to amend his complaint on August 2, 2003,

"instructing [Mr.] Brown to limit his amended complaint to 'the issues previously raised in this

litigation."' 51 But Mr. Brown added allegations against staff members at his newly transferred

facility long after he began the lawsuit. 52 "The district court dismissed the amended complaint "as

outside the scope of its order ... and cautioned [Mr.] Brown not to attempt to use the amendment

process to circumvent the three strikes rule." 53 Mr. Brown had three strikes;.our Court of Appeals

did not find Mr. Brown faced serious imminent danger when he filed the appeal, so it declined his



                                                  10
petition for in forma pauperis status and Mr. Brown then paid fees for the appeal. 54 Our Court of

Appeals affirmed Judge Lancaster's dismissal of the amended complaint. 55 "Allowing [Mr.]

Brown to allege unrelated claims against new defendants based on actions taken after the filing of

the original complaint would defeat the purpose of the three strikes provision of the [Prison

Litigation Reform Act]." 56 While our Court of Appeals allowed Mr. Brown to file a new action

against the new defendants he added in his amended complaint, we decline to provide the same

advice to Mr. Talbert. Mr. Talbert may sue Officer Ford relating to the early February and March

2019 conduct if he pays the fee as he is no longer allowed to proceed in formo pauperis. 57

        In Williams v. Department of Correction, Chief Judge Sleet denied the prisoner's motion

to amend because he "raises new issues for acts that occurred after the filing of the original

complaint and claims that do not appear in the original complaint or the amended complaint." 58

Mr. Williams filed an original complaint concerning medical issues and bunk assignment

occurring in June 2018. 59      He later moved to amend his complaint to add negligence,

incompetence, and sexual harassment claims which stem from March 2019. 60 While Chief Judge

Sleet recognized our Court of Appeals "has adopted a liberal approach to the amendment of

pleadings to ensure that 'a particular claim will be decided on the merits rather than on

technicalities,"' he declined to allow Mr. Williams to include his amendments. 61 "The court will

not allow [Mr.] Williams to add claims, unrelated in time or to allegations in the original complaint

and its amendment. [Mr.] Williams has an available remedy by filing a new lawsuit." 62

       We deny Mr. Talbert an ability to end run our earlier Orders. His amendments regarding

Commissioner Camey, Warden Delaney, Lieutenant Murray, and Officer Ford concern conduct in

February 2019 and he filed his original complaint in April 2018 alleging false imprisonment for a

period ranging from November 2017 through February 2018. 63              Mr. Talbert added these



                                                 11
    amendments after our earlier dismissal to end run our April 5, 2019 Order in No. 19-1340 requiring

    him to pay if he wished to proceed. 64 We will not allow Mr. Talbert to benefit from adding these

claims in the present in forma pauperis matter because it undermines our earlier dismissal of the

same claims under the Prison Litigation Reform Act.

           B.     Mr. Talbert may not plead claims concerning the November 2017-February
                  2018 transfer among facilities as finally adjudicated by the jury verdict.

           Because we entered a final judgment Mr. Talbert may not amend his complaint as to

Commissioner Camey and Wardens May and Clark. "As a general rule, once a judgment has been

entered, a plaintiff is not allowed to amend his complaint unless the judgment has been 'set aside

or vacated' under Rules 59 or 60." 65 We will not set aside or vacate the September 5, 2019 jury

verdict in favor of Commissioner Carney and Wardens May and Clark. Mr. Talbert may not again

amend his amended Complaint as to Commissioner Carney and Wardens May and Clark. These

claims are finally adjudicated in this Court.

III.       Conclusion

           In accompanying Orders, we grant Officer Ford's motion to strike allegations against her

and deny Mr. Talbert's motion to amend to add new allegations relating both to the issues tried

before the jury as well as conduct in February 2019. Mr. Talbert may pursue claims relating to the

conduct in February 2019 in a separate case upon paying the required fees.




1
  April 5, 2019 Memorandum in No. 19-1340. (ECF Doc. No. 5) ("Mr. Talbert has filed at least
fifty-four lawsuits as a pro se litigant in thfs District since 2012. Several of his cases have
proceeded beyond the pleadings stage. Several have been the subject of settlements with
defendants but this Court has dismissed at least four of Mr. Talbert's civil actions as frivolous,
malicious, or for failing to state a plausible claim for relief.").
2
  See 28 U.S.C. § 1915(g) ("In no event shall a prisoner bring a civil action or appeal a judgment
in a civil action or proceeding under this section if the prisoner has, on 3 or more prior occasions,

                                                  12
while incarcerated or detained in any facility, brought an action or appeal in a court of the United
States that was dismissed on the grounds that it is frivolous, malicious, or fails to state a claim
upon which relief may be granted, unless the prisoner is under imminent danger of serious physical
injury.").

3
     ECF Doc No. 61 at ,r 10.

4
     Id. at ,r,r 2-3.
5
     Id. at 111.



7
     Id. at ,r,r 4, 11.
8
     Id. at,r 12.
9
     Id. at ,r 14.
10
     Id. at,r 15.

11
     ECF Doc. No. 51.
12
     ECF Doc. No. 58.
13
     ECF Doc No. 61 at ,r 17.

14   Id.

1s   Id.

16
     Id. at ,r 20.
17
     Id. at,r21.
18
     Id. at 122.
19
     Id. at ,r,r 26-27.
20
     Id. at ,r 28.
21
     ECF Doc. No. 109.

22   Id.

23
     Id. at 5.

                                                13
24   Id.

25   Id.

26
     ECF Doc. No. 167.

21   Id.

28
     ECF Doc. Nos. 168, 172.

29
     ECF Doc. No. 143.

30
     ECF Doc. No. 112.

31   Id.

32
     ECF Doc. No. 117.

33
     ECF Doc. No. 123.

34
     ECF Doc. No. 170.

35
     ECF Doc. No. 179 at 1.

36   Id.

37
     Id at ,r,r 10-30.
38
     Id. at ,r 31.

39
     Id. at ,r 52.

40
     Id. at ,r,r 55-72.

41
     Id. at ,r 55.

42
     Id. at ,r 56.

43
     Id. at ,r 69.

44
     Id. at ,r 72.

45
     Id. at,i73.

46
     Id. at ,r,r 55-77.


                               14
47
   See 28 U.S.C. § 1915(g); 42 U.S.C. § 1997e(c)(2) ("In the event that a claim is, on its face,
frivolous, malicious, fails to state a claim upon which relief can be granted, or seeks monetary
relief from a defendant who is immune from such relief, the court may dismiss the underlying
claim without first requiring the exhaustion of administrative remedies.").
48
     Abdul-Akbar v. McKelvie, 239 F.3d 307,314 (3d Cir. 2001).

49
     Id. at 315.
50
     Brown v. Blaine, 185 F. App'x 166, 167 (3d Cir. 2006).
51
     Id. at 168.

52   Id.

53   Id.

54
     Id. at n.1.

55   Id.

56
     Id. at 168-69.
57
   See also Brown v. Lancaster, No. 14-117, 2014 WL 1315996, at *1 (W.D. Pa. Apr. 1, 2014),
appeal docketed, No. 14-2670 (3d Cir. May 8, 2014) (denying plaintiffs motion to amend his
complaint, saying "to the extent ... Plaintiff would identify unrelated theories of injury or harm,
the proper course is not amendment, but rather, the filing of a new lawsuit").
58
     Williams v. Dep't of Correction, No. 08-367, 2009 WL 1649142, at *4 (D. Del. June 8, 2009).

59   Id. at *1.

60
     Id. at *4.
61
     Id. (citing Dole v. Arco Chem. Co., 921 F.2d 484, 486-87 (3d Cir.1990) (citations omitted)).
62
   Id.; see also Daker v. Bryson, No. 15-88, 2019 WL 826474, at *4 {M.D. Ga. Feb. 21, 2019),
appeal docketed, No. 19-11212 (11th Cir. Apr. 2, 2019) ("limit[ing] the amendment of a prisoner's
claims, particularly where-as here-the prisoner is attempting to raise claims that
occurred after the filing of the original complaint") (emphasis in original); Jackson v. Dayton, No.
17-880, 2018 WL 4473403, at* 10 (D. Minn. Apr. 2, 2018), report and recommendation adopted,
No. 17-880, 2018 WL 3696600 (D. Minn. Aug. 3, 2018), appeal docketed, No. 18-3138 (8th Cir.
Oct. 5, 2018) (denied claim j oinder because defendant "could not bring the two claims unrelated
to prison conditions via separate lawsuit given his restricted ability to file new lawsuits"); Lee v.
Grondolsky, No. 16-12061, 2017 WL 3206937, at *3 (D. Mass. July 28, 2017), appeal dismissed,
2018 WL 851674 (1st Cir. Jan. 18, 2018) (denying plaintiffs motion to amend saying he "will not
                                                  15
be permitted to add new claims or new defendants, pertaining to allegations regarding facilities
other than FMC Devens"-defendants originally alleged in the complaint); Scott v. Kelly, 107 F.
Supp. 2d 706, 711 (E.D. Va. 2000) (allowing a prisoner "to amend his complaint to include new,
unconnected claims which have arisen since his initial filing defeats the purposes of filing fees and
the 'three strikes' provisions in 28 U.S.C. § 1915(g).").
63
     ECF Doc. No. 1 8.
64
     ECF Doc. No. 6 in No. 19-1340.
65
  Rhines v. United States, 677 F. App'x 34, 36 (3d Cir. 2017) (per curiam) (quoting Ahmed v.
Dragovich, 297 F.3d 201,208 (3d Cir. 2002)).




                                                16
